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IN THE UNlTED STATES DISTRICT COURT _ E`l 3/-- '3-'=`-
FoR THE wESTERN DISTRICT oF TENNESSEE 95 AUB _2 PP .
WESTERN DIVISIoN 1 |‘ 39

 

UNITED STATES OF AMERICA

 

v. No.: .05cr20203 Breen

BARRY MYERS

 

oRDER GRANTING MoTIoN To r.RAN`sFER cAsE

 

This cause came on to be heard upon the Motion to transfer filed by Counsel for
Defendant, Leslie l. Ballin. lt appearing to the Court that the Motion is well taken and should be
granted

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED, by this Court that case

number 05-20203 be and is hereby transferred to the Courtroom of Judge J on P. McCalla for the

purposes of entering a guilty plea with case number 05-20202. M
§: ` \IUDGE
____ 1 j / _ '10 o»§

DATE

 

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UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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Honorable J. Breen
US DISTRICT COURT

